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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION

LOUIS DREYFUS COMPANY FREIGHT    §
ASIA PTE LTD,                    §
      Plaintiff,                 §
                                 §                                   C.A. NO. 2:21-CV-00084
VS.                              §                                   ADMIRALTY
                                 §                                   F.R.C.P. 9(h)
AMERICAN MARITIME SERVICES, LLC, §
    Defendant.                   §

       PLAINTIFF’S CERTIFICATE OF FINANCIALLY INTERESTED PARTIES

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        Plaintiff Louis Dreyfus Company Freight Asia Pte Ltd. hereby discloses all known parties

that are financially interested in the outcome of this litigation.

        1.      Louis Dreyfus Company Freight Asia Pte Ltd. – Plaintiff

        2.      Clark Hill PLC – Counsel for Plaintiff

        3.      American Maritime Services, LLC – Defendant

        4.      Defendant’s counsel, presently unknown.

        5.      Crystal Seas Shipping Co. Ltd. – Crystal Seas Shipping Co. Ltd. is a non-party
                which has filed a demand for arbitration in London, United Kingdom related to the
                underlying events.

                                                Respectfully submitted,


                                                By:
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                                          ATTORNEY-IN-CHARGE FOR LOUIS
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                                          LTD.

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COUNSEL FOR LOUIS
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ASIA PTE LTD.
